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                               EXHIBIT 33
                 Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 2 of 26. PageID #: 127750

      Fro m:                              Harper, Karen
      To:                                 Santowski, Michael J
      Sent:                               4/12/2011 7:27:22 PM
      Subject:                            Suspicious Order Monitoring Presentation for EC
      Attachments:                        Training for Executive Committee 04_2011.ppt




     Karen Harper
     Mallinckrodt/Covidien Pharmaceuticals
     Senior Manager, Controlled Substance Compliance
     Global Logistics Group
     office phone (314) 654-1868
     cellular (314) 401-1573

     This information may be confidential and/or privileged. Use of this information by anyone other than the intended recipient is prohibited. If you receive this in error, please
     inform the sender and remove any record of this message.




                                                                                                                         EXHIBIT         3
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                                                                                                                        oAre: 1 ~ 1 c=Z!Z
                                                                                                                        C. Campbel/, RDR CRR CSR #13921



Confidential                                                                                                                                                         MAL-Ml 000024199
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                               MNK-T1_0000283074
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 3 of 26. PageID #: 127751




           Mallinckrodt
           Controlled Substance
           Suspicious Order
           Monitoring Program



                Presentation for
                Executive Committee
                April 25, 2011




Confidential                                                                                                  MAL-Ml 000024200
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MNK-T1 0000283075
                            Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 4 of 26. PageID #: 127752




                Suspicious Order Monitoring Presentation Agenda
                •        Suspicious Order Monitoring Team Composition
                •        Regulatory Background
                •        By the Numbers
                •        Oxycodone Market Analysis
                •        Florida Distribution Trends
                •        DEA Past Communication and Distributor Initiative
                •        Previous Suspicious Order Monitoring Program
                •        Recent Industry Enforcement Action and DEA Guidance
                •        Suspicious Order Monitoring Enhancements
                •        OxyContin Express Video
                •        Florida Pain Clinic Raids
                •        Suspicious Order Monitoring Next Steps
                •        DEA and Distributor Feedback




                 2   I




Confidential                                                                                                    MAL-Ml 000024201
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                              MNK-T1_0000283076
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 5 of 26. PageID #: 127753



              Mallinckrodt Suspicious Order Monitoring (SOM)
              Team Composition
                Leadership Team
                Meets once per month

                Controlled Substance Compliance
                Security
                Legal

                Steering Committee
                Meets once per quarter

                Controlled Substance Compliance
                Security
                Legal
                Commercial
                Customer Service
                Finance
                Medical Affairs/REMs

                Subcommittees

                As needed
                 3   I




Confidential                                                                                                  MAL-Ml 000024202
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MNK-T1 0000283077
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 6 of 26. PageID #: 127754




                 DEA Policy on Suspicious Orders
                 21 CFR 1301.74

                     • Requires registrants to design and operate a suspicious order
                       identification system

                     • Requires that registrants report suspicious orders to DEA when
                       discovered via monitoring process

                     • Registrant is reminded that their responsibility does not end
                       merely with the filing of a suspicious order report

                     • DEA does not approve or otherwise endorse any specific program
                       for reporting suspicious orders

                     • Registrant must conduct an independent analysis of suspicious
                      orders prior to completing a sale to determine whether the
                      controlled substances are likely to be diverted



                 4   I




Confidential                                                                                                  MAL-Ml 000024203
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MNK-T1_0000283078
                                     Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 7 of 26. PageID #: 127755




                 By the Numbers




                                      "DEA must rely on the States and individual registrants to
                                      monitor"



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                                        COVIDIEN
                                    Covidien has 1, 300+ controlled substance customer
                                     accounts

                                      1, 100+ Generics & Specialty Brands
                                         200+ Active Pharmaceutical Ingredients


                 5    I




Confidential                                                                                                             MAL-Ml 000024204
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                       MNK-T1 0000283079
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 8 of 26. PageID #: 127756




                 Oxycodone Market Analysis 04/12/11


                                                                             Oxy/APAP
                                                Product       Oxy/APAP                       Oxy
                                                                               Caps
                                               Description     Tablets                      Tablets
                                                                             (5/500)
                                           MAL Share FY1004     40%            33%           52%
                                           MAL Share FY1101     39%            31%           56%
                                          jActavis                              1%           25%
                                           Amneal               5%
                                           Caraco                        I              I     2%
                                           Endo                 15%
                                           Halsev                               1%
                                           KVK-Tech                                           3%
                                           Oualitest            5%             12%      T    12%
                                           Roxane               3%             16%
                                           Teva                                38%
                                           Watson               31%             1%
                                           Mvlan                 2%
                                           CorePharma                                         2%
                                          !TOTAL               100.0%         100.0% 1100.0%




                 6   I




Confidential                                                                                                 MAL-Ml 000024205
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1_0000283080
                           Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 9 of 26. PageID #: 127757




                  Florida Distribution of Oxycodone

                 98 of the top 100 doctors dispensing Oxycodone nationally are in
                 Florida

                 By far, more oxycodone is dispensed in the state of Florida than
                 in the remaining states combined



                 data per Florida Governor's Press Office 03/28/11




                 7   I




Confidential                                                                                                   MAL-Ml 000024206
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                             MNK-T1 0000283081
                                            Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 10 of 26. PageID #: 127758




             DEA reiterates responsibilities in light of the growing Rx drug abuse problem


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                www.dea.JlOV
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                                                                                                                 washin~ D.C. 20537
                                                                                                                                              Failure to maintain effective controls
                                                                                                                                              against diversion is inconsistent with
                                                                                                                                              the public interest and may result in
                        MALLINCKRODT INC
                        3600 NORTH SECOND STREET
                                                                                                                 December 27, 2007
                                                                                                                                              the revocation of the registrant's DEA
                        ST LOUIS MO, 63147-0000
                                                                                                                                              license
                        1.11 .... 11 .... 11.1 .. 11 ... 111 ... 11 ••• 11, .. 11 ... 1,1 .. ,                 In reference to registration
                                                                                                                     # PM0037451
                Dear Registrant:
                        This letter is being sent to every entity in the United States registered with the Drug
                Enforcement Admmiatrauon (DEA) to manufacture or distnoute controlled substances. The purpose
                of this letter Is to reiterate the responsibilities of controlled substance manufacturers and disttlbutors
                to inform DEA of suspicious orders In accordance with 21 CFR 1301.74(b).

                       In addition to, and not in lieu of, the general requirement under 21 USC 823, that
                manufacturers and distributors rnaimaln e1fective controls against diversion, DEA regulations require                             DEA can immediately
                all manufacturers and distributors to report suspicious orders of controlled substances. Title 21 CFR
                1301.74(b), specifically requires that a registrant "design and operate a system to disclose to the
                registrant suspicious orders of controlled substances." The regulation clearly indicates 1hat it is the
                                                                                                                                                   suspend or revoke
                sole responsibility of the registrant to design and operate such a system. Accordingly, DEA does not
                approve or otherwise endorse any specific system for reporting suspicious orders. Past
                communications with DEA. whether implicit or e,cpllc~. that could be construed as approval of a
                                                                                                                                              registration for violations of
                particular system for reporting suspicious orders, should no longer be taken to mean that DEA
                approves a specific system.                                                                                                    the Controlled Substances
                       The regulation also requires that the registrant Inform the local DEA Division Office of
                suspicious orders when dlsco:ti:U:d by the registrant. Fifing a monthly report of completed
                transactions (e.g., "excessive purchase report" or "high uni! purchases") does not meet the regulatory
                                                                                                                                                  Act and regulations.
                requirement to report suspicious orders. Registrants are reminded that their responsibilrly does not
                end merely with the filing of a suspicious order report. Registrants must conduct on independent
                analysis of suspicious orders prior to completing a sale to determine whether the- controlled
                substances are likely to be diverted from legitimate channels. Reporting an order as suspicious will
                not absolve the registrant of responsibility if the registrant knew, or should have known, that the
                controlled substances were being diverted.

                        The regulaUon specifically states that suspicious orders include orders of an unusual size,
                orders deviating substantially from a normal pattern, and orders of an unusual frequency. These
                criteria are disjunctive and are not all inclusive. For example, if an order deviates substantially from a
                normal pattern, the size of the order does not matter and the order should be reported as suspicious.
                Likewise, a registrant need not wnit for a .. normal pattern" to develop over time before determining
                whether a particular order is suspicious. The size of an order atone, whether or not it deviates from a
                normal pattern, is enough to trigger the reglsttant's responsibility to report the order as suspicious.
                The determination of whether an order is suspicious depends not only on the ordering patterns of the
                particular customer, bot also on the patterns. of the registrant's customer base and the patterns
                throughout the relevant segment of the regulaled indus1ry.




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Confidential                                                                                                                                                                         MAL-Ml 000024207
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                   MNK-T1_0000283082
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 11 of 26. PageID #: 127759




                  DEA Distributor Initiative, 2008
                      DEA suspends licenses of distributors for not maintaining
                     effective controls against diversion of controlled substances

                Amerisource Bergen
                      Orlando, FL Distribution Licenses suspended for four months

                Cardinal
                       DEA license suspended at three distribution centers for ten
                       months
                       Cardinal pays $34 million due to enforcement actions

                  McKesson
                       McKesson Corporation Agrees to Pay More than $13 million to
                       settle claims that it failed to report suspicious sales of prescription
                       medications




                 9   I




Confidential                                                                                                  MAL-Ml 000024208
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MNK-T1 0000283083
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 12 of 26. PageID #: 127760




              Masters Pharmaceutical

               Masters is a Mallinckrodt Distributor customer

               Masters sold more than 4 million doses of hydrocodone, phentermine and
               alprazolam to internet pharmacies between 2005-2008 without reporting the
               sales to the DEA

               Although Masters reported suspicious orders during the 2005 and 2008
               period in question, the DEA believed that some orders placed by 10
               pharmacies should have been reported as suspicious


                                                    Fined $500,000




                10   I




Confidential                                                                                                 MAL-Ml 000024209
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1_0000283084
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 13 of 26. PageID #: 127761




               CVS Fines


              CVS Caremark's Latest Legal Headaches? A Record $77 .6 Million Settlement with DEA
              Published October 15, 2010

              The already extensive list of government entities scrutinizing CVS Caremark's
                 behavior just got longer. DEA joins the alphabet soup with a record $77.6 million
                 settlement, which includes a $75 million fine (the largest ever under the
                 Controlled Substances Act) and the forfeiture of $2.6 million in profits from illegal
                 sales. Meanwhile, a California court upheld a $42,000 fine against Caremark for
                 acting in "bad faith" in a whistleblower lawsuit.

              In a statement, the U.S. Drug Enforcement Administration said the company,
                   "admitted that it unlawfully sold pseudoephedrine [PSEJ to criminals who made
                  methamphetamine. As part of the agreement with federal prosecutors, CVS has
                  agreed to pay $75 million in civil penalties and to forfeit the $2. 6 million in profits
                  the company earned as a result of the illegal conduct."




                 11   I




Confidential                                                                                                  MAL-Ml 000024210
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MNK-T1 0000283085
                            Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 14 of 26. PageID #: 127762




                  Existing SOM Program (pre 06/10)

                  • Customer completes checklist prior to establishing new account
                    and once annually thereafter
                  • Credit performs Dun & Bradstreet and other information checks (Associated
                    Pharmacies)

                  • CDIG and CSRs follow existing procedure on verification of customer DEA registration,
                    quota, DEA 222 Form

                  • Peculiar Order report flags direct orders of unusual size, frequency, incremental
                    increases, purchase of a new molecule or business from a new customer
                  • Any Peculiar Order issues that are not resolved by internal investigation are referred to
                    the Controlled Substance Compliance Group Security Director and DEA Compliance
                    Manager for further investigation
                  • Security Director and DEA Compliance Manager consult with Commercial Group
                    Business Manager regarding ship or no ship decision based on findings of their
                    investigation

                      • Security Director and DEA Compliance Manager report orders that have been elevated
                        from Peculiar to Suspicious to DEA




                 12    1




Confidential                                                                                                    MAL-Ml 000024211
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                              MNK-T1_0000283086
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 15 of 26. PageID #: 127763




                  Harvard Drug (Mallinckrodt Distributor customer)
                  Livonia, Michigan
                            Controlled Substance License Suspended for Livonia location
                            Approval to resume shipping Cl I I-CV negotiated within one week
                            Cl I restriction shipments at Livonia still in force




                  Sunrise Distributors (Mallinckrodt Distributor customer)
                  Sunrise, Florida

                            License Suspended pending further investigation
                            License voluntarily surrendered




                 13 I




Confidential                                                                                                 MAL-Ml 000024212
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1 0000283087
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 16 of 26. PageID #: 127764




                 DEA St. Louis Conversation 07/20/10

                Mallinckrodt was named as supplier of Harvard Drug Distributor at a DEA training
                session in Washington DC


                Pain Clinic undercover operations reveal a "cattle call" scenario


                Mallinckrodt is viewed as the kingpin within the drug cartel


                DEA is implementing a "new direction" initiative aimed at manufacturers of
                Oxycodone


                DEA expectation has evolved to require that manufacturers know their customers'
                customers




                14 I




Confidential                                                                                                 MAL-Ml 000024213
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1_0000283088
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 17 of 26. PageID #: 127765




                 SOM Program Enhancements Achieved
                  Monthly review of Chargeback Reports
                            Data analysis reveals
                                       % of Oxycodone purchased per Distributor
                                       % of Distributor Oxycodone sold to Florida
                                       Pharmacies that purchase from multiple Distributors


                  Distributor Audit Program Implemented
                  Met with DEA Albany and DEA St. Louis to discuss Chargeback Report observations

                  Conducted on-site SOM Audit of Keysource, Masters, Cedardale 12/10 and 01 /11

                  Informed Distributors of audit findings 02/11
                  All communication to Distributors has been pre-reviewed by Commercial
                  Checking law enforcement newsletters and DEA webpage for match with pharmacy
                  indirect customers




                 15 I




Confidential                                                                                                 MAL-Ml 000024214
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1 0000283089
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 18 of 26. PageID #: 127766




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Confidential                                                                                                 MAL-Ml 000024215
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1_0000283090
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 19 of 26. PageID #: 127767




                 17   I




Confidential                                                                                                  MAL-Ml 000024216
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MNK-T1 0000283091
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 20 of 26. PageID #: 127768




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Confidential                                                                                                   MAL-Ml 000024217
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                             MNK-T1_0000283092
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                  DEA Florida Pain Clinic Raids
                 Florida Sun Sentinel
                 3:54 p.m. EST, February 23, 2011

                 Drug investigators raided an untold number of pain clinics from Miami to West Palm Beach on Wednesday,
                      arresting doctors and clinic owners in the biggest single strike at Florida's pain pill industry
                 Hundreds of officers from federal, state and local agencies fanned out in an orchestrated sweep that shut down
                      some of the busiest and best known pain clinics in Broward, Palm Beach and Miami-Dade counties, said
                      officials who spoke on the condition of anonymity
                 In Delray Beach, police arrested Dr. Zvi Harry Perper, the son of Broward Medical Examiner Dr Joshua Perper, at
                      Delray Pain Management, 201 N. Swinton Ave. Zvi Perper is listed as the owner of the clinic, which is run by
                      manager Kenneth Murry, who opened it in early 2009.
                 In Oakland Park, a half dozen medical personnel in scrubs were handcuffed and arrested at a high-volume clinic
                      called Commercial Medical Group, 291 E. Commercial Blvd.
                 Arrests also were made at by agents raiding 4Slh Street Medical in Lake Worth, which is owned by Dr Robert
                      Elessar, federal officials said. Agents raided many more locations, seizing records as part of ongoing
                      investigations.
                 "We're so happy all this is happening," said Julie DePasquale, a clerk at German Bread Haus two doors from the
                      Oakland Park clinic. She said it is popular with out-of-state pill seekers. "I'll feel safer coming to work at 7
                      o'clock in the morning. The druggies are out there like the night of the living dead, waiting for that place to
                      open. It's scary"
                 The raids were led by agents from the U.S. Drug Enforcement Administration, the Broward Sheriff's Office, the
                      Palm Beach County Sheriff's Office and police departments from the state and cities. Florida Department of
                      Health inspectors were on hand to initiate disciplinary actions against clinic doctors and owners.




                 19   I




Confidential                                                                                                                         MAL-Ml 000024218
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                   MNK-T1 0000283093
                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 22 of 26. PageID #: 127770




                 SOM Distributor Audit Next Steps

               Work with Finance to synchronize In/Out Distributor Chargeback Audits
                Revise Customer Checklists (sent by Customer Data lntegrity/CDIG to all accounts)
               Work with CDIG on policy matters
               Will continue to communicate with Commercial Group




                 20   I




Confidential                                                                                                  MAL-Ml 000024219
 , CONF.I DENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MNK-T1_0000283094
                             Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 23 of 26. PageID #: 127771




                 Feedback Received
                 Distributors

                         Positive feedback and full audit cooperation from Keysource, Masters, Cedardale

                         H.D. Smith, AmerisourceBergen, McKesson, Quest, and others volunteering for audits


                 DEA St. Louis

                         Agency looks to Mallinckrodt as the leader in industry to be the leader in SOM

                         Review of Company record keeping systems to incorporate into SOM is a great benefit

                 DEA Albany

                         Appreciated the visit by Mallinckrodt to explain SOM initiatives


                 DEA Washington DC

                         Granted 3,900 kg AA Oxycodone Quota for Hobart 12/13/10 (3,900 kg AA requested 10/14/10)

                         Will be training Manufacturing Registrants on DEA SOM expectations


                 DEA Industry Consultant

                         Mallinckrodt has taken a brave and bold step within industry to upgrade SOM program




                21   I




Confidential                                                                                                              MAL-Ml 000024220
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                        MNK-T1 0000283095
                                          Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 24 of 26. PageID #: 127772


               Pharmacy 54 Empty Mnllinckrodt Oxyccdone Pill Bottles - eBay (item 280580022565 en. Page I of 6
                                                                                                                                Pharmacy 54 Empty Mallinckrodt Oxycodone Pill Bculcs , cBuy (item 280580022565 en.   Pngc 3 of6




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                                          StJI. e.r;. w~. •
                                                                                              @ eBay 8uyer Protection tea

                LJsted m wtegory: Crafts> Multi·Purpose Cratt Supplies > o;,p1a·1 & Storage

                                                                                                                  llem211)511


                                                        Pharmacy 54 Empty Mallinckrodt Oxycodone
                                                        Pill Bottles
                                                        blask_fl ( 287   *)
                                                            Item condition: Used
                                                                 Time left: 3d 05h (Oct 31, 2010 17:05:17 PDT)
                                                                B1d history: O bids


                                                              Starling bid:    US $0,99


                                                                      eBay Buyer Protection
                                                                      Covers your purchase price plus original sh1pp1ng.
                                                                      Learn more




                                                                                                                                 You are bidding on 54 cleaned used empty pill
                                                                                                                                 bottles with 54 child safety caps/lids.

                                                                                                                                 Dimensions:

                                                                                                                                 2 and 6/16 .. tall with cap, 2 and 3/16 .. tall w/o cap.
                                                                                                                                 1 and 7/16 .. diameter, 13/16 .. mouth.

                                                                                                                                ht1p:/lcgi.cbay.com/ws/eDaylSAP[.dll?Viewl tem&ltcm-280580022565&.si=D4v3gSXOI.      I 0128/20 I 0




                  22     I




Confidential                                                                                                                                                                                                               MAL-Ml 000024221
    CONF-IDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                        MNK-T1_0000283096
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             Fentanyl Transmucosal Product Tampering




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Confidential                                                                                                                                                                                                        MAL-Ml 000024222
    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                  MNK-T1 0000283097
                         Case: 1:17-md-02804-DAP Doc #: 1957-33 Filed: 07/23/19 26 of 26. PageID #: 127774




                                                             Comments, Feedback, Questions




                                                                   Thank you for your time




                24   I




Confidential                                                                                                  MAL-Ml 000024223
    CONflDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MN K-T1 _0000283098
